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                          Exhibit F
   Email to Counsel for US re fight related injuries,
                dated June 1, 2022
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Manuelpillai, Wesline N

From:                             Manuelpillai, Wesline N
Sent:                             Wednesday, June 1, 2022 6:25 PM
To:                               'Hollingsworth, Mary (ENRD)'
Cc:                               Perron, Jeannie; Razi, Benjamin; 'Giorno, Anthony (USAVAW)'; 'Panda, Shampa (ENRD)'
Subject:                          RE: [EXTERNAL] Re: Activity in Case 6:22-cv-00028-NKM United States Of America v.
                                  Envigo RMS, LLC Temporary Restraining Order


Dear Counsel:

Pursuant paragraph 10, we are producing additional medical records for veterinary care. Please note that for some of
the dogs Envigo has recorded the treatments on Field Examination Forms. Dr. Emily Olson was the treating veterinarian
on the forms that list 68 as the veterinarian ID.
Pursuant to paragraph 13, we are also producing a necropsy report from 5/31/22. The necropsy was performed by Dr.
Murray.

As you know, since the TRO was issued, Envigo has provided numerous medical records pursuant to paragraph 10 of the
Order. As part of those productions, we produced medical records for the treatment of the following dogs: CLJCHM,
CMICWD, CMHCLE, CMJCHV and CMICNR. At this time, we are additionally providing notice of injuries attributable to or
consistent with a fight, as well as wounds of an unknown cause, pursuant to paragraph 11. Of these five dogs, one
(CMHCLE) had an injury that appears to be related to being caught in a dog door, but we have included this dog in this
notice out of an abundance of caution. Another (CMICNR) had an injury that appears to be related to a body part being
pulled through a side panel of its enclosure.

In all cases except CMHCLE (the dog with an injury evidently related to the dog door), each dog was relocated from its
enclosure into another enclosure after the injury was identified and treated.

The documents referenced above have been uploaded to Kiteworks.

Thank you,
Wesline

From: Manuelpillai, Wesline N
Sent: Monday, May 30, 2022 7:35 PM
To: 'Hollingsworth, Mary (ENRD)' <Mary.Hollingsworth@usdoj.gov>
Cc: Perron, Jeannie <jperron@cov.com>; Razi, Benjamin <brazi@cov.com>; 'Giorno, Anthony (USAVAW)'
<Anthony.Giorno@usdoj.gov>; 'Panda, Shampa (ENRD)' <Shampa.Panda@usdoj.gov>
Subject: RE: [EXTERNAL] Re: Activity in Case 6:22-cv-00028-NKM United States Of America v. Envigo RMS, LLC
Temporary Restraining Order

Dear Counsel:

Pursuant to paragraph 13, we are producing a necropsy report from 5/30/22. In addition, pursuant to paragraph 16, we
are producing a list of all puppies born on 5/30/22.

These documents have been uploaded to Kiteworks.

Thank you,
Wesline
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